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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

                                                 *
JANE DOE
                                                 *            CIVIL ACTION
               Plaintiff,
                                                 *            NO. __________
VERSUS
                                                 *            SECTION _____
OCHSNER CLINIC FOUNDATION and
                                                 *            MAGISTRATE ____
GENERAL ELECTRIC COMPANY
                                                 *
               Defendants.
                                                 *

                                                 *


                                  NOTICE OF REMOVAL

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA

       APPEARING through undersigned counsel pursuant to the provisions of 28 U.S.C. §

1332(a) and 1441, et seq., General Electric Company (hereafter “General Electric”), a defendant,

respectfully removes from the Civil District Court for the Parish of Orleans, State of Louisiana,

in which this case is now pending under the name and style Jane Doe versus Ochsner Clinic

Foundation, Civil Action No. 2011-4262, Division H (hereinafter referred to as the “State Court

Action”), to the United States District Court for the Eastern District of Louisiana. In support of

this Notice of Removal, Defendant avers as follows:

       This matter is being removed by Defendant, General Electric, on the basis of diversity

under 28 U.S.C. § 1332(a) because the only properly joined parties to this action have diverse

citizenship and the jurisdictional amount in controversy is satisfied. Defendant, General Electric,

is a citizen of a different state from the plaintiff.     The other defendant, Ochsner Clinic
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Foundation (hereinafter “Ochsner”), was improperly joined, because it is a qualified health care

provider under the Louisiana Medical Malpractice Act, and is allegedly liable for medical

malpractice, and as such is subject to review by a medical review panel prior to being made a

defendant.

        This action is a civil action at law in which Plaintiff alleges that she was exposed to the

risk of infectious diseases, namely HIV, hepatitis B and hepatitis C, during the course of an

endoscopic examination.       Plaintiff alleged in her Class Action Petition for Damages that

Ochsner, a hospital, “failed to sterilize properly the endoscope that was utilized in Petitioner’s

endoscopic ultrasound procedure” which resulted in the alleged exposure. 1 Plaintiff filed a

Supplemental and Amending Class Action Petition for Damages adding claims against General

Electric. 2 In her Supplemental and Amending Petition, Plaintiff alleged that General Electric

“failed to sterilize properly the endoscope that was utilized in Petitioner’s colonoscopy[.]” 3

Plaintiff also alleges that other people were affected by the purported acts of the defendants, and

seeks certification of a class of such persons. 4

        The plaintiff named in this action utilizing the fictitious name of “Jane Doe” claims

residency in Orleans Parish, Louisiana. 5

        General Electric is a New York corporation with its principal place of business in the

State of Connecticut. 6




1
  See Plaintiff’s Class Action Petition for Damages, ¶ 10, attached hereto as Exhibit “1”.
2
  See Supplemental and Amending Class Action Petition for Damages, attached hereto as Exhibit “2.”
3
  See Exhibit 2 at ¶ 11.
4
  See Exhibit 2, at ¶ 18.
5
  See Exhibit 2, ¶ 1.
6
   See Entries for General Electric Company, from New York Secretary of State, Corporations Database and
Connecticut Secretary of State, Corporations Database, attached hereto as Exhibit “3”.



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        Ochsner Clinic Foundation is a Louisiana non-profit corporation with its principal place

of business in Louisiana. 7 For purposes of this Notice of Removal, the state of citizenship of

Ochsner is irrelevant, as that party was improperly joined (see infra).

        This Court, the Honorable Sarah Vance presiding, has recently ruled against remand in

two cases that are, in all material respects, identical to this matter. See Taylor v. Ochsner Clinic

Found., No. 11-1926 (E.D. La. Dec. 9, 2011), 2011 U.S. Dist. LEXIS 142122. The same

reasoning that applied in favor of finding against remand in those cases supports the removal of

this case.

A.      Complete diversity exists between the plaintiff and the properly joined defendant,
        General Electric.

        On the face of the state court record, complete diversity of citizenship between the

plaintiff and all defendants would appear to be lacking. However, Ochsner was improperly

joined, because the claims against the hospital defendant was subject to the Louisiana Medical

Malpractice Act, La. R.S. 40:1299.41, et seq. and therefore review by a medical review panel is

required before Plaintiff could name Ochsner as a defendant in a district court matter. If Ochsner

is disregarded as improperly joined, complete diversity exists between the plaintiff, a citizen of

Louisiana, and Defendant, General Electric, a citizen of New York and Connecticut.

       1.        Ochsner was improperly joined.

       The federal removal statute, 28 U.S.C. § 1441(a), allows for the removal of “any civil

action brought in a State court of which the district courts of the United States have original

jurisdiction.” Subsection (b) specifies that suits arising under federal law are removable without

regard to the citizenship of the parties; all other suits are removable “only if none of the parties in

interest properly joined and served as defendants is a citizen of the State in which such action is

7
 See Louisiana Secretary of State, Corporations Database, entry for Ochsner Clinic Foundation, attached as Exhibit
“4.”


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brought.” An in-state defendant is improperly joined with other defendants, and should be

disregarded for the purpose of determining diversity of parties, when there is “no reasonable

basis for the district court to predict that the plaintiff might be able to recover against [that

defendant].” Smallwood v. Illinois Cent. R. Co., 385 F.3d 568, 573 (5th Cir. 2004).

                 a.       A lawsuit against Ochsner is premature before a decision is reached
                          by a medical review panel.

        Plaintiff has alleged that Ochsner was responsible for the sterilization of medical

instruments, including the endoscope allegedly utilized in her colonoscopy. 8 The failure to

properly sterilize an endoscope is properly classified as a “failure to render fit for surgery the

required medical tools.” 9 Thus, Plaintiff is actually claiming deficiencies within the provision of

medical care by Ochsner, which are properly classified as medical malpractice. See id. Ochsner

is a qualified healthcare provider as defined by the Louisiana Medical Malpractice Act

(hereinafter “LMMA”), and, as such, is subject to protection afforded to qualified healthcare

providers under that law.

        Ochsner’s status as a qualified healthcare provider is demonstrated by its certificate of

enrollment in the Patients’ Compensation Fund. 10 Louisiana courts hold that such certificates

are “competent evidence to establish a prima facie case for the applicability of the medical

malpractice law regarding claims against the party identified on the certificate.” Roark v. Liberty

Healthcare Sys., LLC, 26 So. 3d 968, 973-974 (La.App. 2 Cir. 2009) (citing La. R.S. 13:3711,

3712; Hill v. Brentwood Hosp., 480 So.2d 875 (La. App. 2d Cir. 1985); Goins v. Texas Optical,

Inc., 463 So.2d 743 (La. App. 4th Cir. 1985)).



8
  See Exhibit 2, ¶ 11.
9
  Taylor v. Ochsner Clinic Found., No. 11-1926 (E.D. La. Dec. 9, 2011), 2011 U.S. Dist. LEXIS 142122, at *23.
10
   See Certificate of Enrollment in a Patients’ Compensation Fund for Ochsner Clinic Foundation, attached hereto as
Exhibit 5.


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       In general, any conduct by a hospital complained of by a patient is properly within the

scope of the LMMA if it can be said that it comes within the definitions of the act, even though

there are alternative theories of liability. See Dominick v. Rehabilitation Hospital of New

Orleans, 97-2310 (La. App. 4 Cir. 4/15/98); 714 So. 2d 739, Dinat v. Texada, 09-665 (La. App.

3 Cir. 2/10/10), 30 So. 3d 1139; Cashio v. Baton Rouge General Hospital, 378 So.2d 182 (La.

App. 1st Cir. 1979). If this Court finds the provisions of the LMMA apply, Plaintiff’s Petition

for Damages is premature. See La. R.S. 40:1299.47.

       The LMMA defines malpractice covered by the Act as follows:

       any unintentional tort or any breach of contract based on health care professional
       services rendered, or which should have been rendered by a health care
       provider to a patient, including failure to render services timely in the handling
       of a patient, including loading and unloading of the patient and also includes all
       reasonable responsibilities of a health care provider arising from acts and
       omissions in the training or supervision of health care providers or from defects
       in blood, tissue, transplants, drugs, and medicines, or from defects in or failures of
       prosthetic devices implanted in or used on or in the person of a patient. (Emphasis
       added).

La. R.S. 40:1299.41(A)(13) (emphasis added).

       In Cashio, supra, the plaintiffs filed suit after a patient died from a staph infection

contracted during coronary bypass surgery. The plaintiffs, much like the plaintiffs in this case,

attempted to circumvent the LMMA by filing a lawsuit rooted upon the duty owed by a premises

owner under La. C.C. art. 2317. Defendant filed an exception of prematurity. In reversing the

trial court, the First Circuit held that the LMMA applied because “treatment” and thus “health

care” includes furnishing a clean and sterile environment. Cashio, 382 So.2d at 184. The court

rejected plaintiffs’ argument that the LMMA did not apply because the hospital was being sued

as a premises owner rather than health care provider and because the hospital could be strictly

liable under La. C.C. art. 2317. Moreover, the Court specifically noted “a plaintiff cannot




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control the progress and procedure of his claim by semantically designating one capacity of two

or more belonging to the defendant as the desired one when the statute requires a procedure if the

claim fits within its definition.” Cashio, 382 So.2d at 185. In her Petition for Damages and

Supplemental and Amending Petition for Damages, Plaintiff has alleged that Ochsner is liable

under Civil Code article 2317 for harm caused by objects in its garde, however, as in Cashio,

this case is rooted in medical malpractice and as such, allegations of premises liability or any

other general negligence theory cannot circumvent the LMMA.

       Aside from Cashio, other courts have found allegations centering on or arising out of

medical equipment issues constitute medical malpractice. Renz v. Ochsner Foundation

Hospital/Clinic, 420 So.2d 1008 (La. App. 5th Cir. 1982); Richardson v. Advanced

Cardiovascular Systems, Inc., 865 F.Supp. 1210 (E.D. La. 1994). In Renz, the court held

allegations pertaining to the malfunction of a medical life support system is part of “professional

services rendered” and thus falls within the definition of malpractice. Renz, 420 So. 2d at 1010.

In Richardson, the court found allegations concerning the failure of a balloon during an

angioplasty procedure fit within the definition of “malpractice” and thus the plaintiffs’ petition

for damages was premature. Courts examining these issues focus on Plaintiff’s allegations in

their entirety and not any single allegation standing alone. Taylor v. Christus Southwestern

Louisiana, 04-627 (La. App. 3 Cir 11/10/04); 886 So.2d 696.

       The scope of acts and omissions that are “treatment related” include maintaining

safeguards to ensure the safety of vulnerable patients, as well as providing medical care

consistent with appropriate standards. See Meseke v. St. Francis Medical Center, 40,317 (La.

App. 2 Cir. 10/26/05), 914 So. 2d 136, 139 (the scope of activities that were covered by the




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LMMA included responding to a patient’s call for assistance and transporting him to the

bathroom).

       In two cases before this Court that are identical to the instant matter in all respects

material to the propriety of removal, Taylor, et al v. Ochsner Clinic Foundation, et al, No. 2:11-

cv-1926, and John Doe, et al v. Ochsner Clinic Foundation, et al, No. 2:11-cv-2221, this Court,

the Honorable Judge Sarah Vance presiding, recently answered the question of whether Ochsner

would be improperly joined if the plaintiff had not obtained the opinion of a medical review

panel pursuant to the LMMA before filing suit.

       In Taylor and Doe, as here, removal was based on diversity, which was conditioned upon

a finding of improper joinder of the non-diverse defendant, Ochsner. See Taylor v. Ochsner

Clinic Found., No. 11-1926 (E.D. La. Dec. 9, 2011), 2011 U.S. Dist. LEXIS 142122. As in this

case, the alleged liability of Ochsner was based upon its status as the medical service provider

who administered endoscopies with instruments that were allegedly not properly sterilized. Id.

The plaintiffs in Taylor and Doe attempted, through artful pleading, to allege their case as one

not arising under medical malpractice, and fashioned their arguments in favor of remand

accordingly. Judge Vance found that the “language and logic” of the LMMA, and a fair analysis

under relevant jurisprudence, required a finding that the claims arose in medical malpractice. Id.

at *24. Therefore, the LMMA required the plaintiffs to pursue review by a medical review panel

before filing suit, the lawsuit against the non-diverse defendants was premature, and the matter

was properly removed. Id.

       Further, as noted by the Court in Taylor v. Ochsner Clinic Found., No. 11-1926 (E.D. La.

Dec. 9, 2011), 2011 U.S. Dist. LEXIS 142122, at *9, Fifth Circuit case law demonstrates that

when a plaintiff has failed to satisfy administrative requirements before bringing suit against in-




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state defendants, those defendants are improperly joined, and their citizenship can be ignored for

diversity purposes. See Melder v. Allstate Corp., 404 F.3d 328, 331-32 (5th Cir. 2005)

(upholding federal jurisdiction when a sole nondiverse defendant was joined before plaintiffs had

pursued administrative remedies provided by the Louisiana Administrative Code, and finding

“no reasonable basis” that plaintiffs might recover against that defendant); Holder v. Abbott

Labs, Inc., 444 F.3d 383, 387-88 (5th Cir. 2006) (finding improper joinder of in-state physicians

sued before plaintiffs complied with the procedural exhaustion requirements of the National

Childhood Vaccine Injury Act). Although the Fifth Circuit has not yet applied this reasoning to a

case involving an alleged failure to comply with the LMMA’s procedural requirements, other

federal district courts in Louisiana have done so. See Jones v. Centocor, Inc., 2007 U.S. Dist.

LEXIS 84717, at *2-3 (E.D. La. 2007) (applying Melder and Holder and denying remand when a

plaintiff joined an in-state defendant before presenting her claims to a medical review panel);

Senia v. Pfizer, Inc., 2006 U.S. Dist. LEXIS 32555, at *9-12 (E.D. La. 2006) (same).

                 b.       The Coleman factors warrant dismissal of Plaintiff’s claims against
                          Ochsner as premature.

        The Louisiana Supreme Court set forth six factors in Coleman v. Dena, 2001-1517

(La.1/25/02); 813 So. 2d 303, to assist courts in determining whether certain conduct by a

qualified health care provider constitutes malpractice as defined under the LMMA. 11                        The

Coleman factors are:

        a) whether the injury was treatment related or caused by dereliction of professional skill;

        b) whether the wrong requires expert medical evidence to determine whether the

        applicable standard of care was breached;


11
  The Coleman factors have recently been interpreted by this Court in a similar case involving claims for alleged
improperly sterilized endoscopy equipment in Taylor v. Ochsner Clinic Found., No. 11-1926 (E.D. La. Dec. 9,
2011), 2011 U.S. Dist. LEXIS 142122.


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       c) whether the act involved assessment of the patient’s condition;

       d) whether the incident occurred in the context of the physician patient relationship or

       was within the scope of activities which a hospital is licensed to perform;

       e) whether the injury would have occurred if the patient had not sought treatment; and

       f) whether the tort was intentional.

Coleman, 813 So.2d at 315-316.

                       i. As pled, the alleged injury was treatment related and/or caused by
                       an alleged dereliction of professional skill.

       Health care is defined in Louisiana Revised Statue 40:1299.41 as “any act or treatment

performed or furnished, or which should have been performed or furnished by any health care

provider for, to, or on behalf of the patient during a patient's medical care, treatment or

confinement.” One of the principal duties owed by a hospital to its patients is the furnishing of a

clean and sterile environment. Indeed, the furnishing of such an environment is an integral

component of the treatment which hospitals provide to their patients. Cashio, 378 So.2d at 184

(holding the definition of treatment includes “the furnishing of a clean and sterile environment

for all patients”). There can be no dispute that allegations concerning a hospital's failure to

provide a clean and sterile environment, which is the essential allegation in this case, amount to

an alleged dereliction of professional skill related to the treatment of patients.

                       ii. Expert medical evidence is needed to determine if appropriate
                       standard of care was breached by Ochsner.

       The standard of care required of a hospital in providing for sterility of its facility and the

equipment utilized in endoscopic procedures is not common knowledge and cannot be inferred

by a lay jury. This is evidenced by the fact that a lay jury would not be familiar with local, state

and internal regulations and procedures for ensuring the sterility of a hospital and its equipment.




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Expert testimony will be needed to establish the standard of care in preparing for and in

performing endoscopic procedures and whether there was a breach of the standard of care in the

methods it utilized in performing the procedures at issue.

                          iii. Alleged act or omission involved assessment of the patient's
                          condition.

           While one may argue a patient's contraction or fear of contraction of a serious illness,

such as hepatitis or HIV, does not involve the assessment of a patient’s condition, the allegations

in Plaintiff’s Petition establish that the purported negligence and claimed damages occurred in

conjunction with the treatment and assessment of Plaintiff, during the endoscopic procedure at

issue.

                          iv. Alleged incidents took place in context of physician-patient
                          relationship and within the scope of activities which a hospital is
                          licensed to perform.

           The fourth Coleman factor is satisfied as there can be no dispute that the very procedure

at issue in this case constitutes and is within the scope of activity which Ochsner is licensed to

perform.

                          v. Any alleged injuries would not have occurred in this manner if the
                          patient(s) had not sought treatment at Ochsner’s facility.

           As specified in her Supplemental and Amending Petition, Plaintiff was a purported

patient at the Ochsner Clinic Foundation Hospital receiving medical treatment. 12 As such,

common sense indicates that a claim based on failure to properly perform the endoscopic

procedure, i.e. provide adequate care for patients, is specifically linked to treatment. Coleman,

813 So.2d at 315.

                          vi. The alleged tort was not intentional.



12
     See Exhibit 2, ¶7.


                                                  10
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       The sixth and final Coleman factor is satisfied as Plaintiff does not allege the Ochsner

Defendants committed an intentional tort.

       Applying all of the Coleman factors to the facts and allegations of this case establishes

the plaintiff is alleging an unintentional tort based on the professional services that a hospital is

licensed to perform, or which should have been rendered by the Ochsner Defendants to their

patients. As such, the Louisiana Medical Malpractice Act applies to this matter.

B.     The jurisdictional amount for removal under 28 U.S.C. § 1332(a) is satisfied.

       In order for federal jurisdiction to be present under 28 U.S.C. § 1332(a), the amount in

controversy for at least one plaintiff must exceed $75,000. The defendant need only show by a

preponderance of the evidence that the jurisdictional amount is met. Gibson v. Canal Ins. Co.,

2004 U.S. Dist. LEXIS 4666 (E.D. La. Mar. 18 2004). A defendant can meet this burden either

by showing that it is facially apparent from the nature and amount of the claims that they are

likely to be above the requisite amount, or by setting forth the facts which would support a

finding of the requisite amount. Id.

       Under La. C.C.P. Art. 893(a)(1) as amended by Acts 2004, No. 334, if a claim is for less

than the requisite amount for the exercise of federal jurisdiction, plaintiff is required to so

allege in the petition. Here, the Petition for Damages contains no such limitation. This omission

may be taken into account to tend to show that the claim is intended to exceed the federal

jurisdictional amount. See Haydel v. State Farm Mut. Auto. Ins. Co., 2008 U.S. Dist. LEXIS

122272 (M.D. La. June 10, 2008) at *21 (“this court has held that the failure to make such an

allegation is not, in and of itself, determinative of the amount in controversy; however, such

failure is entitled to ‘some consideration’ in making the jurisdictional amount determination”).




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            Further the facts pled in the petition, taken as true for this purpose, support finding that

the jurisdictional amount is met.           Plaintiff alleges that the putative class members were

negligently exposed to “HIV, Hepatitis B and Hepatitis C.” 13

       •    In Cotita v. Pharma-Plast, U.S.A., Inc., 974 F.2d 598 (5th Cir. 1992), while providing

            nursing services to an AIDS patent, a nurse was stuck by a syringe manufactured by the

            Defendant. The syringe, still in its sterile packaging, was missing the protective cap that

            normally covers the tip of the needle. Because of the presence of the patient’s blood on

            the nurse’s gloves at the time of the stick, the plaintiff feared exposure to the HIV virus.

            Although reduced by comparative fault, the jury award was in the amount of

            $150,000.00.

       •    In Emery v. Owens-Corporation, 00-2144 (La. App. 1 Cir. 11/9/01), 813 So.2d 441, the

            jury awarded $200,000 for his past, present & future mental anguish which included

            plaintiff’s fear of contracting cancer as a result of his exposure to asbestos. Plaintiff had

            suffered asbestosis.

       •    In David v. Our Lady of Lake Hosp., Inc. 2002-1945 (La. App. 1 Cir. 6/27/03), 857 So.2d

            529, the trial judge awarded plaintiff, who had contracted hepatitis C, $632,000 for

            mental pain and suffering; and $895,000 for emotional distress, fear of cancer, and loss of

            enjoyment of life.

       •    In Dodson v. Community Blood Center, 633 So.2d 252 (La. App. 1st Cir. 1993), the trial

            judge awarded $275,000 due to contracting hepatitis C through blood transfusions.

            $50,000 was for loss of enjoyment of life and past pain and suffering, $75,000 was for

            past mental anguish, and $150,000 was for future mental anguish.


13
     Exhibit 2, ¶ 12.


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           In light of the foregoing, once again, accepting Plaintiff’s allegations as true for this

purpose, by a preponderance of the evidence, Plaintiff has placed into controversy in excess of

$75,000, satisfying the jurisdictional amount in controversy under 28 U.S.C. § 1332(a).

D.         This removal is timely.

           This suit was filed on or about April 20, 2011, in the Civil District Court, in and for

Orleans Parish, Louisiana. General Electric was added as a defendant through the Supplemental

and Amending Class Action Petition for Damages in the filing of November 14, 2011. On

December 7, 2011, General Electric was advised by Ochsner’s counsel of that filing and was

served on that same date. 14 Fewer than 30 days have passed since the date the initial pleadings

for the State Court Action were filed, thus, this Notice of Removal was timely filed within the

30-day deadline set forth in 28 U.S.C. §1446(b).

E.         Conclusion

           This action is one over which the district courts of the United States are given original

jurisdiction.       The value of the matter in controversy exceeds $75,000.       There is complete

diversity of citizenship between the plaintiff and the properly joined defendant. The properly

joined defendant is not a citizen of the State of Louisiana. The time within which removal must

be effected has not expired.

           A list of all parties, and all attorneys and the parties they represent, in the state court

proceedings is attached to this Notice as Exhibit “7”.

           Under 28 U.S.C. §1446(a), the removing defendant must file “a copy of all process,

pleadings and orders served upon such defendant or defendants in such action.” A certified copy

of the entire state court record has been obtained from the Clerk of Court for the Civil District



14
     See Citation to General Electric, attached hereto as Exhibit 6.


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Court for the Parish of Orleans, and is attached in globo as Exhibit “8”. The record contains a

complete set of all process, pleadings and orders served on defendants in the state court action.

       Written notice of this removal has been served on counsel for Plaintiff, Ochsner Clinic

Foundation by facsimile transmission, and by placement in the United States Mail, properly

addressed and postage pre-paid.

       A copy of this removal is being filed with the Clerk of Court for the Civil District Court,

Parish of Orleans, State of Louisiana, by hand delivery.

       ACCORDINGLY, the defendant, General Electric Company, asks that this matter

proceed in the United States District Court for the Eastern District of Louisiana, as a matter

properly removed.

                                              Respectfully Submitted,
                                              COTTEN SCHMIDT & ABBOTT, L.L.P.


                                              s/Charles H. Abbott____________________
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